
841 So.2d 645 (2003)
F.K.H., Appellant,
v.
STATE of Florida, Appellee.
No. 2D02-2044.
District Court of Appeal of Florida, Second District.
April 4, 2003.
James Marion Moorman, Public Defender, Bartow, and A. Victoria Wiggins, Assistant Public Defender, Bartow, for Appellant.
Charles J. Crist, Jr., Attorney General, Tallahassee, and Deena DeGenova, Assistant Attorney General, Tampa, for Appellee.
THREADGILL, EDWARD F., Senior Judge.
F.K.H., a ten-year old third-grader in special education classes, challenges the trial court order withholding a determination of delinquency and placing him on probation. He argues that the court failed to inquire into his waiver of counsel at the plea hearing and failed to renew an offer of counsel at the disposition hearing. The State concedes error. We reverse and remand to allow F.K.H. to enter a new *646 plea following a proper colloquy and offer of counsel in accordance with Florida Rule of Juvenile Procedure 8.165, State v. T.G., 800 So.2d 204 (Fla.2001), and G.L.D. v. State, 442 So.2d 401 (Fla. 2d DCA 1983).
Reversed.
NORTHCUTT and CASANUEVA, JJ., Concur.
